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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 2:95-cr-00051-02

JAMES ROBINSON,

                              Defendant.



                  MEMORANDUM OPINION AND JUDGMENT ORDER


       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.
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          By its written and filed response, the United States does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by 2 levels, resulting in a new total offense level of 36.

It is further ORDERED that Defendant’s previous sentence be reduced to a period of 188 months,

with credit for time served to date. This Order is subject to the prohibition contained within

U.S.S.G. §1B1.10(b)(2)(C).

          The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshals.

                                                ENTER:          May 7, 2008




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